                            Case 5:16-cv-05635-NC Document 86 Filed 02/27/18 Page 1 of 3



                     1   JON R. PARSONS LAW FIRM
                         Jon R. Parsons, Bar No. 88045
                     2   jon@jrplaw.com
                         2225 E. Bayshore Road, Suite 210
                     3   Palo Alto, CA 94303
                         Tel: +1.650.321.8579
                     4
                         Attorneys for Plaintiff,
                     5   SCOTT ARD
                     6   MORGAN, LEWIS & BOCKIUS LLP
                         Melinda S. Riechert, Bar No. 65504
                     7   melinda.riechert@morganlewis.com
                         Claire M. Lesikar, Bar No. 311180
                     8   claire.lesikar@morganlewis.com
                         1400 Page Mill Road
                     9   Palo Alto, CA 94304
                         Tel: +1.650.843.4000
                    10   Fax: +1.650.843.4001

                    11   Attorneys for Defendant
                         YAHOO HOLDINGS, INC., successor in interest,
                    12   in part, to liabilities of YAHOO! INC.

                    13

                    14                                 UNITED STATES DISTRICT COURT

                    15                              NORTHERN DISTRICT OF CALIFORNIA

                    16                                       SAN JOSE DIVISION

                    17

                    18   SCOTT ARD, an individual,                      Case No. 5:16-cv-05635-NC

                    19                          Plaintiff,
                                                                        STIPULATION AND ORDER
                    20                  vs.                             CONTINUING CASE MANAGEMENT
                                                                        CONFERENCE AND RELATED
                    21   YAHOO!, INC., a Delaware corporation,          DEADLINES

                    22                          Defendant.

                    23

                    24

                    25

                    26

                    27

MORGAN, LEWIS &     28
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                             STIPULATION AND [PROPOSED] ORDER
  SILICON VALLEY                                                                  CONTINUING CASE MANAGEMENT
                                                                                                     CONFERENCE
                                                                                        CASE NO.: 5:16-CV-05635-NC
                            Case 5:16-cv-05635-NC Document 86 Filed 02/27/18 Page 2 of 3



                     1          Defendant YAHOO HOLDINGS, INC. (“Yahoo”) and Plaintiff Scott Ard (“Plaintiff”)
                     2   (collectively, the “Parties”), by and through their respective counsel, pursuant to Civil Local
                     3   Rules 6-2, 7-12 and 16-2 of the Northern District of California, jointly request an order
                     4   continuing the Case Management Conference, and aver as follows:
                     5          WHEREAS on November 29, 2017, the Court set a Case Management Conference on
                     6   February 21, 2018 at 1:00 p.m. (ECF No. 68);
                     7          WHEREAS on February 20, 2018, the Court continued the Case Management Conference
                     8   to March 7, 2018 at 10:00 a.m. and ordered that the Parties file either a dismissal or Case
                     9   Management Conference Statement by February 28, 2018 (ECF No. 84);
                    10          WHEREAS on February 27, 2018, the Parties contacted the Court’s clerk to request a
                    11   continuance of the Case Management Conference to the following week and the Clerk requested
                    12   that the Parties file a stipulation or motion to continue;
                    13          WHEREAS, the Parties seek a continuance of the Case Management Conference and
                    14   related dates in order to finalize the filing of Plaintiff’s dismissal of his remaining claims, and the
                    15   Parties do not seek this continuance for the purpose of delay;
                    16          WHEREAS, the Parties and their counsel are available for a Case Management
                    17   Conference during the week of March 5, 2018;
                    18          IT IS HEREBY STIPULATED pursuant to Local Rule 6-2 and 16-2 by and between the
                    19   Parties hereto, through their respective attorneys of record, to the extension of certain deadlines as
                    20   follows:
                    21                 Event                     Current Deadline                 Proposed Deadline
                    22      Deadline to File Dismissal     February 28, 2018                 March 7, 2018
                            or Case Management
                    23      Conference Statement
                    24      Case Management                March 7, 2018                     March 14, 2018
                            Conference
                    25

                    26          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                    27          Pursuant to L.R. 5-1(i)(3) regarding signatures, I, Melinda S. Riechert, attest that

MORGAN, LEWIS &     28   concurrence in the filing of this document has been obtained from each of the other signatories. I
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                 STIPULATION AND ORDER
  SILICON VALLEY                                                                            CONTINUING CASE MANAGEMENT
                                                                            1                                  CONFERENCE
                                                                                                  CASE NO.: 5:16-CV-05635-NC
                            Case 5:16-cv-05635-NC Document 86 Filed 02/27/18 Page 3 of 3



                     1   declare under penalty of perjury under the laws of the United States of America that the foregoing
                     2   is true and correct. Executed this 27th day of February, 2018.
                     3                                                       /s/ Melinda S. Riechert
                                                                             Melinda S. Riechert
                     4

                     5

                     6   Dated: February 27, 2018                     MORGAN, LEWIS & BOCKIUS LLP

                     7

                     8                                                By: /s/Melinda S. Riechert
                                                                          Melinda S. Riechert
                     9                                                    Attorney for Defendant
                                                                          YAHOO HOLDINGS, INC., successor in
                    10                                                    interest, in part, to liabilities of YAHOO! INC.

                    11
                         Dated: February 27, 2018                     JON R. PARSONS LAW FIRM
                    12

                    13                                                By: /s/Jon R. Parsons
                                                                         Jon R. Parsons
                    14                                                   Attorney for Plaintiff SCOTT ARD

                    15

                    16   PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                                                                 ISTRIC
                    17
                                                                                            TES D      TC
                                                                                          TA
                    18   Dated: February 27, 2018


                                                                                                                     O
                                                                                    S




                                                                                                                      U
                                                                       By:
                                                                                  ED




                                                                                                                       RT
                    19                                                       HONORABLE NATHANAEL COUSINS
                                                                              UNIT




                                                                             UNITED STATES NTED
                                                                                        RAMAGISTRATE
                                                                                                G    JUDGE
                    20

                    21                                                                                                     R NIA
                                                                                                                 Cousins
                                                                               NO




                                                                                                             .
                                                                                                   thanael M
                                                                                          Judge Na
                                                                                                                           FO

                    22
                                                                                RT




                                                                                                                       LI



                    23                                                                 ER
                                                                                  H




                                                                                                                     A




                                                                                            N                          C
                    24                                                                          D IS T IC T       OF
                                                                                                      R
                    25

                    26

                    27
                    28
MORGAN, LEWIS &                                                                                   STIPULATION AND ]ORDER
 BOCKIUS LLP
                                                                                            CONTINUING CASE MANAGEMENT
 ATTORNEYS AT LAW                                                        2                                     CONFERENCE
  SILICON VALLEY
                                                                                                  CASE NO.: 5:16-CV-05635-NC
